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                      IN THE UNITED STATES DISTRICT COURT                             f11ZOS
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


TEXAS LEAGUE OF UNITED LATIN                    §
AMERICAN CITIZENS,                              §
                                                §
and                                             §
                                                §
NATIONAL LEAGUE OF UNITED                       §
LATIN AMERICAN CITIZENS,                        §
                                                §
and                                             §
                                                §
JULIE HILBERG, individually and on              §
behalf of others similarly situated,            §
                                                §       CIVIL ACTION NO. 5:19-CV-00074-FB
       Plaint ffs,                              §
                                                §

v.                                              §
                                                §

DAVID WHITLEY, in his official capacity         §
as Secretary of State for the State of Texas,   §
                                                §
and                                             §
                                                §
KEN PAXTON, in his official capacity as         §
Attorney General for the State of Texas,            §
                                                    §
       Defendants.                                  §




                          CONFIDENTIALITY AND PROTECTIVE ORDER

                                                                                               and
        Before the court is the joint motion of the parties for the entry of a confidentiality
                                                                          hereby ORDERED as
protective order ("Protective Order"). After careful consideration, it is

follows:

         1.      Classified Information
                                                                                        that is
         "Classified Information" means any information of any type, kind, or character
                                                                     Only" by any of the
designated as "Confidential", "For Counsel Only", or "Attorneys Eyes
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supplying or receiving persons, whether it be a document, information contained in a document,

information revealed during a deposition, information revealed in an interrogatory answer, or

otherwise.

       2.     Qualified Persons

       "Qualified Persons" means:

       a.     For Counsel or Attorneys Only information:

                      retained counsel for the parties in this litigation and their respective staff;

              ii.     actual or potential independent experts or consultants (and their
                      administrative or clerical staff) engaged in connection with this litigation
                      (which shall not include the current employees, officers, members, or agents
                      of parties or affiliates of parties) who, prior to any disclosure of Classified
                      Information to such person, have signed a document agreeing to be bound
                      by the terms of this Protective Order (such signed document to be
                      maintained by the attorney retaining such person) and have been designated
                      in writing by notice to all counsel;

              iii.    this court and its staff and any other tribunal or dispute resolution officer
                      duly appointed or assigned in connection with this litigation.

       b.     For Confidential information:

              i.      the persons identified in subparagraph 2(a);

              ii.     the party, if a natural person;

               iii.   if the party   is an entity, such officers or employees   of the party who are
                      actively involved in the prosecution or defense of this case who, prior to
                      any disclosure of Confidential information to such person, have been
                      designated in writing by notice to all counsel and have signed a document
                      agreeing to be bound by the terms of this Protective Order (such signed
                      document to be maintained by the attorney designating such person);

               iv.    litigation vendors, court reporters, and other litigation support personnel;

               v.     any person who was an author, addressee, or intended or authorized
                      recipient of the Confidential information and who agrees to keep the
                      information confidential, provided that such persons may see and use the
                      Confidential information but not retain a copy.
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        c.     Such other person as this court may designate after notice and an opportunity to

be heard.

        3.     Designation Criteria

        a.     Nonclassfled Information. Classified Information shall not include information

that either:

               i.      is in the public domain at the time   of disclosure, as evidenced by a written
                       document;

               ii.     becomes part of the public domain through no fault of the recipient, as
                       evidenced by a written document;

               iii.    the receiving party can show by written document was in its rightful and
                       lawful possession at the time of disclosure; or

               iv.     lawfully comes into the recipient's possession subsequent to the time of
                       disclosure from another source without restriction as to disclosure, provided
                       such third party has the right to make the disclosure to the receiving party.

        b.      ClassfIed Information. A party or third party shall designate as Classified

Information only such information that the party or third party in good faith believes in fact is

confidential. Information that is generally available to the public or is otherwise publicly available

pursuant to federal and/or state law, such as public filings, catalogues, advertising materials, and

the like, shall not be designated as Classified.

         Information and documents that may be designated as Classified Information include, but

are not limited to, personally identifiable information (such as home address, date of birth, and

social security number), trade secrets, confidential or proprietary financial information, operational

data, business plans, and competitive analyses, personnel files, personal information that is

protected by law, and other sensitive information that, if not restricted as set forth in this order,

would disclose personal information of an individual not a party to this litigation that could be
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used to identify that person or that may subject the producing or disclosing person to competitive

or financial injury or potential legal liability to third parties.

        Classified Information also includes information, documents, testimony, and other items

of a sensitive technical nature related to electronic databases, data systems, or record-keeping

methods maintained by or behalf of any State, county, municipal, or other governmental entity

which such entity believes in good faith is not generally known to others or to the public, and

which would not normally be revealed to third parties except in confidence, including, for example,

data dictionaries, database design documents, information related to the structure of databases, the

characterization of the data stored within each database, or other similar information. This

information may be designated as "For Counsel Only" or "Attorneys Eyes Only."

         Correspondence and other communications between the parties or with nonparties may be

designated as Classified Information if the communication was made with the understanding or

reasonable expectation that the information would not become generally available to the public.

         c.      For Counsel or Attorneys Only. The designation "For Counsel Only" or "Attorneys

Eyes Only" shall be reserved for information that is believed to be unknown to the receiving party

or parties, or any of the employees of a corporate party. For purposes of this order, so-designated

information includes, but is not limited to, product formula information, design information, non-

public financial information, pricing information, customer identification data, and certain study

methodologies, or any detailed, highly-technical information that renders the State of Texas's voter

 registration or DPS databases and systems vulnerable to tampering or unauthorized access as

 described in paragraph 3b.
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       4.      Designating Documents as Confidential or Highly Confidential.

       a.      Pursuant to this Order, any Party or any third party that produces Discovery

Material in this case may designate such Discovery Material as containing "Classified

Information" or "For Counsel or Attorneys Only" in accordance with this Order if the Designating

Party in good faith believes that the Discovery Material contains Confidential Information or

Highly Confidential Information, as those terms are defined above. Absent party agreement to a

different process, a Producing Party shall designate Discovery Materials Confidential or Highly

Confidential prior to or at the time of the production of the documents. If a Producing Party does

not designate Discovery Materials as Confidential or Highly Confidential, any other Party to this

action may designate the produced Discovery Materials as Confidential or Highly Confidential

under the terms of Subsection 3(f), below.

        b.     A Designating Party may designate Discovery Material at the time of production as

Confidential or Highly Confidential by placing or affixing the words "Classified," "For Counsel

or Attorneys Only". Electronic media (such as CDs and DVDs) shall, at the time of production,

be designated by affixing a label to such media. Any copies that are made of any documents

marked Confidential or Highly Confidential shall also be so marked. Indices, electronic databases,

or lists of documents that do not contain substantial portions or images of the text of marked

documents and do not otherwise disclose the substance of the Confidential Information or Highly

Confidential Information are not required to be marked.

        c.      For any Confidential Information produced in a form that cannot be stamped or

 designated as described above, the Designating Party may designate such Discovery Material by

 cover letter referring generally to such matter.
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       d.        Third parties may designate the Discovery Materials they produce in this action as

Classified or "Attorney Eyes Only" by following the procedure described above. Each Designating

Party asserting "Classified Information" or "For Counsel or Attorneys Only" treatment of a

document must be identified.

        e.       Where a Producing Party does not designate Discovery Materials as "Classified

Information" or "For Counsel or Attorneys Only", any Receiving Party may designate the

Discovery Materials produced as Confidential or Highly Confidential under the terms of this Order

within fourteen days of receiving the Discovery Materials. During that fourteen-day period, the

Discovery Materials will be treated by the Parties as Confidential unless they mutually agree that

the review period is unnecessary or the Court orders otherwise. A Party's need to review and

potentially designate Discovery Materials shall not impede the production of such materials by

third parties.

        f.       A Designating Party may seek written permission from the Receiving Party to

follow a different protocol, if such permission is reasonably requested for the purpose of expediting

discovery or alleviating the administrative or financial burdens associated with a production.

Nothing in this paragraph shall limit the rights of a Receiving Party to challenge any designation

at any time.

        5.       Use of Classified Information

        All Classified Information provided by any party or nonparty in the course of this litigation

shall be used solely for the purpose of preparation, trial, and appeal of this litigation and for no

other purpose, and shall not be disclosed except in accordance with the terms hereof.
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       6.      Disclosure at Depositions

       Information disclosed at (a) the deposition of a party or one of its present or former officers,

directors, employees, agents, consultants, representatives, or independent experts retained by

counsel for the purpose of this litigation, or (b) the deposition of a nonparty may be designated by

any party as Classified Information by indicating on the record at the deposition that the testimony

is "Confidential" or "For Counsel Only" and is subject to the provisions    of this Order.

       Any party also may designate information disclosed at a deposition as Classified

Information by notifying all parties in writing not later than 30 days of receipt of the transcript of

the specific pages and lines of the transcript that should be treated as Classified Information

thereafter. Each party shall attach a copy of each such written notice to the face of the transcript

and each copy thereof in that party's possession, custody, or control. All deposition transcripts

shall be treated as For Counsel Only for a period of 30 days after initial receipt of the transcript.

        To the extent possible, the court reporter shall segregate into separate transcripts

information designated as Classified Information with blank, consecutively numbered pages being

provided in a non-designated main transcript. The separate transcript containing Classified

Information shall have page numbers that correspond to the blank pages in the main transcript.

        Counsel for a party or a nonparty witness shall have the right to exclude from depositions

any person who is not authorized to receive Classified Information pursuant to this Protective

 Order, but such right of exclusion shall be applicable only during periods of examination or

 testimony during which Classified Information is being used or discussed.

        7.      Disclosure to Qualified Persons

        a.      To Whom. Classified Information shall not be disclosed or made available by the

 receiving party to persons other than Qualified Persons except as necessary to comply with
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applicable law or the valid order of a court of competent jurisdiction; provided, however, that in

the event of a disclosure compelled by law or court order, the receiving party will so notify the

producing party as promptly as practicable (if at all possible, prior to making such disclosure) and

shall seek a protective order or confidential treatment of such information. Information designated

as For Counsel Only shall be restricted in circulation to Qualified Persons described in

subparagraph 2(a).

        b.     Retention ofCopies During this Litigation. Copies of For Counsel Only information

shall be maintained only in the offices of outside counsel for the receiving party and, to the extent

supplied to experts described in subparagraph 2(a)(ii), in the offices of those experts. Any

documents produced in this litigation, regardless of classification, that are provided to Qualified

Persons shall be maintained only at the office of such Qualified Person and only necessary working

copies of any such documents shall be made. Copies of documents and exhibits containing

Classified Information may be prepared by independent copy services, printers, or illustrators for

the purpose of this litigation.

        c.      Each party's outside counsel shall maintain a log of all copies of For Counsel Only

documents that are delivered to Qualified Persons.

        8.      Unintentional Disclosures

        Documents unintentionally produced without designation as Classified Information later

may be designated and shall be treated as Classified Information from the date written notice of

the designation is provided to the receiving party.

        If a receiving party learns of any unauthorized disclosure of Confidential information or

 For Counsel Only information, the party shall immediately upon learning of such disclosure inform
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the producing party of all pertinent facts relating to such disclosure and shall make all reasonable

efforts to prevent disclosure by each unauthorized person who received such information.

       9.      Documents Produced for Inspection Prior to Designation

       In the event documents are produced for inspection prior to designation, the documents

shall be treated as For Counsel Only during inspection. At the time of copying for the receiving

parties, Classified Information shall be marked prominently "Confidential", "For Counsel Only",

or "Attorneys Eyes Only" by the producing party.

        10.    Consent to Disclosure and Use in Examination

        Nothing in this order shall prevent disclosure beyond the terms of this order if each party

designating the information as Classified Information consents to such disclosure or if the court,

after notice to all affected parties and nonparties, orders such disclosure. Nor shall anything in this

order prevent any counsel of record from utilizing Classified Information in the examination or

cross-examination of any person who is indicated on the document as being an author, source, or

recipient of the Classified Information, irrespective of which party produced such information.

        ii.     Texas Public Information Act

        Nothing in this Protective Order shall be construed to limit the State of Texas's duty to

comply with all applicable provisions of the Texas Public Information Act, nor does it expand,

modify, or alter in any way the State of Texas's duties and obligations under the Texas Public

Information Act. If, however, the State receives a Public Information Request for Classified

 Information that has been provided to the State by any other party or third party pursuant to this

 Protective Order, the State will provide notice of such request to the Designating Party, as is

 required pursuant to Sec. 552.305(d) of the Texas Government Code. The notice will be provided

 to the Designating Party no later than the 10th business day after the date the State receives the
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relevant Public Information Request. The Designating Party will be given 10 business days after

the Designating Party receives the relevant notice to provide in writing to the Office of the Attorney

General of Texas each reason the Designating Party has as to why the Classified Information shall

be withheld from production pursuant to the Public Information Request.

        12.    Challenging the Designation

        a.      Class fIed Information. A party shall not be obligated to challenge the propriety of

a designation of Classified Information at the time such designation is made, and a failure to do
                                                                                                  so


shall not preclude a subsequent challenge to the designation. In the event that any party to this

litigation disagrees at any stage of these proceedings with the designation of any information as

Classified Information, the parties shall first try to resolve the dispute in good faith on an informal

basis, such as by production of redacted copies. If the dispute cannot be resolved, the objecting

party may invoke this Protective Order by objecting in writing to the party who designated the

document or information as Classified Information. The designating party shall then have 14 days

to move the court for an order preserving the designated status of the disputed information. The

disputed information shall remain Classified Information unless and until the court orders

otherwise. Failure to move for an order shall constitute a termination of the status of such item as

 Classified Information.

        b.      QualJIed Persons. In the event that any party in good faith disagrees with the

 designation of a person as a Qualified Person or the disclosure of particular Classified Information

 to such person, the parties shall first try to resolve the dispute in good faith on an informal basis.

 If the dispute cannot be resolved, the objecting party shall have      14 days from the date    of the

 designation or, in the event particular Classified Information is requested subsequent to the

 designation of the Qualified Person, 14 days from service of the request to move the court for an
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order denying the disputed person (a) status as a Qualified Person, or (b) access to particular

Classified Information. The objecting person shall have the burden of demonstrating that

disclosure to the disputed person would expose the objecting party to the risk of serious harm.

Upon the timely filing of such a motion, no disclosure of Classified Information shall be made to

the disputed person unless and until the court enters an order preserving the designation.

        13.    Manner of Use in Proceedings

        a.     Confidential Information. Any Party may file documents containing Confidential

Information with the Court without notice if the documents have been appropriately redacted to

excise the Confidential Information. A Party that intends to use Confidential Information in court

filings or proceedings without redaction shall bring that issue to the other Party's attention by meet

and confer. If the Parties cannot resolve the issue, they may seek resolution by motion without

disclosing the Confidential Information. The Court may thereafter make such orders, including

any stipulated orders, as are necessary to govern the use of Confidential Information in the filing

or at the hearing. The use of any Confidential Information at trial shall be governed by a separate

stipulation or Court order. This Order does not prohibit discussion of Confidential Information

during Court hearings.

        b.      "For Counsel Only" or "Attorneys Eyes Only" Information. A Party that intends

to use "For Counsel Only" or "Attorneys Eyes Only" Information in court proceedings shall bring

 that issue to the Court's and Parties' attention by meet and confer or by motion without disclosing

 the Information. The Court may thereafter make such orders, including any stipulated orders, as

 are necessary to govern the use of "For Counsel Only" or "Attorneys Eyes Only" Information at

 the hearing. The use of any "For Counsel Only" or "Attorneys Eyes Only" Information at trial

 shall be governed by a separate court order. To the extent that a Receiving Party intends to use
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"For Counsel Only" or "Attorneys Eyes Only" Information during any hearing or trial, the

Receiving Party must provide reasonable, advance notice to the Designating Party.                The

Designating Party has the burden to establish that the "For Counsel Only" or "Attorneys Eyes

Only" designation should be maintained, such that public access to the designated material should

be restricted. If a Designating Party refers to, attaches, or otherwise discloses the substance of the

Information in its own court filings, any other Party similarly may refer to that Information in its

motion papers or during oral argument without need for prior consultation.

        14.    Filing Under Seal

        The clerk of this court is directed to maintain under seal all documents, transcripts of

deposition testimony, answers to interrogatories, admissions, and other papers filed under seal in

this litigation that have been designated, in whole or in part, as Classified Information by any party

to this litigation consistent with the sealing requirements of the court.

        15.     Return of Documents

        Not later than 120 days after conclusion of this litigation and any appeal related to it, any

Classified Information, all reproductions of such information, and any notes, summaries, or

descriptions of such information in the possession of any of the persons specified in paragraph 2

(except subparagraph 2(a)(iii)) shall be returned to the producing party or destroyed, except as this

court may otherwise order, to the extent such information is required to be retained by law, or to

the extent the material has been used as evidence at any trial or hearing. Notwithstanding this

obligation to return or destroy information, counsel may retain attorney work product, including

document indices, so long as that work product does not duplicate verbatim substantial portions of

the text of any Classified Information.
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       16.     Ongoing Obligations

       Insofar as the provisions of this Protective Order, or any other protective orders entered in

this litigation, restrict the communication and use of the information protected by it, such

provisions shall continue to be binding after the conclusion of this litigation, except that (a) there

shall be no restriction on documents that are used as exhibits in open court unless such exhibits

were filed under seal, and (b) a party may seek the written permission of the producing party or

order of the court with respect to dissolution or modification of this, or any other, protective order.

        17.    Advice to Clients

        This order shall not bar any attorney in the course of rendering advice to such attorney's

client with respect to this litigation from conveying to any party client the attorney's evaluation in

a general way of Classified Information produced or exchanged under the terms of this order;

provided, however, that in rendering such advice and otherwise communicating with the client,

the attorney shall not disclose the specific contents of any Classified Information produced by

another party if such disclosure would be contrary to the terms of this Protective Order.

        18.     Duty to Ensure Compliance

        Any party designating any person as a Qualified Person shall have the duty to reasonably

 ensure that such person observes the terms of this Protective Order and shall be responsible upon

 breach of such duty for the failure of such person to observe the terms of this Protective Order.

        19.     Waiver

        Pursuant to Federal Rule of Evidence 502, neither the attorney-client privilege nor work

 product protection is waived by disclosure connected with this litigation.

        In addition, the parties' agreement to the terms of this Protective Order shall not preclude

 any party from withholding from production, or producing in redacted form, any document or
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                                                                                  information is
information in response to a discovery request to the extent any such document or
                                                                                    or federal law.
privileged, or otherwise prohibited from disclosure in this proceeding, under state

       20.     Modification and Exceptions
                                                                                               seek
       The parties may, by stipulation, provide for exceptions to this order and any party may

an order of this court modifying this Protective Order.




        It is SO OERED this       /7 day of                             ,   20



                                                      J46norable Fred Biery
                                                      United States District Judge
